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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

   LIGHTING SCIENCE GROUP CORPORATION,

                           Plaintiff,
                   v.                                          Case No. 6:16-cv-413-Orl-RBD-
                                                               GJK
   NICOR, INC.,
                           Defendant.


   LIGHTING SCIENCE GROUP CORPORATION,

                           Plaintiff,
                   v.                                          Case No. 6:16-cv-1255-Orl-RBD-
                                                               GJK
   TECHNICAL CONSUMER PRODUCTS, INC.,

                           Defendant.


                                          STATUS REPORT

       Plaintiff and Defendants in the above-captioned cases provide notice, pursuant to this Court’s

Order staying this litigation (Dkt. Nos. 98 and 62, respectively, as listed in the above caption), of the

status of the pending appeal.

       Following remand by the United States Court of Appeals for the Federal Circuit, the Patent

Trial and Appeal Board (“PTAB”) has issued its Final Written Decision as to the remaining claims

of the ‘968 patent (all the other asserted claims having been invalidated by earlier rulings by the

Federal Circuit and the PTAB). In its most recent ruling, a copy of which is attached, the PTAB has

found the remaining claims unpatentable.

       Certain parties had previously engaged in settlement discussions and do not, at this time,

request assistance from the Court to facilitate any such discussions.
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Dated: June 28, 2021

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this June 28, 2021, I filed a copy of the foregoing document
 with the Clerk of the Court for the United States District Court for the Middle District of Florida,
 Orlando Division using the CM/ECF system which will electronically notify all counsel or parties
 of record.


                                               /s/ Mark F. Warzecha
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